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aboota@mwe.com                                                                    Washington                         DC 20001
8. CASE NUMBER 9. JUDGE                                                                                    DATES OF PROCEEDINGS
6:21-cv-00425 Kernodle                                                             io from 2/4/2022                   11. to 2/4/2022
12. CASE NAME                                                                                            LOCATION OF PROCEEDINGS
Texas Medical Assoc, v. U.S. Dept of Health & Human Sqg 13. city Tyler                                                14. STATE TX
15. ORDER FOR
O APPEAL Q CRIMINAL 0 CRIMINAL JUSTICE ACT 0 BANKRUPTCY
0 NON-APPEAL [x] CIVIL 0 IN FORMA PAUPERIS 0 OTHE

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                PORTIONS                                     DATE(S)                          PORTION(S)                          DATE(S)
  | VOIR DIRE                                                                     [ ] TESTIMONY (Specify Witness)
0 OPENING STATEMENT (Plaintiff)
    OPENING STATEMENT (Defendant)
0 CLOSING ARGUMENT (Plaintiff)                                                    fx] PRE-TRIAL PROCEEDING (Spey)    February 4, 2022
    CLOSING ARGUMENT (Defendant)                                                  Hearing on Summary Judgnu
[~"1 OPINION OF COURT
0 JURY INSTRUCTIONS                                                                   OTHER (S ecify)
0 SENTENCING
71 BAIL HEARING
                                                                             17. ORDER
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